              Case 2:09-cr-00712-DGC Document 1452 Filed 01/12/12      Page 1 of 2
                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ARIZONA
                                    CRIMINAL TRIAL MINUTES

Phoenix Division


 CR 09-712-1 PHX DGC                 DATE:     1/12/2012
 Year    Case No. Dft #

HON: DAVID G. CAMPBELL                                       Judge # 7031

USA   v.      MAHON, DENNIS
                Last Name                      First Name                   Middle Initial

DEFENDANT: X Present           Not Present           Released      X   Custody       Writ
 Deputy
Clerk:   Traci C. Abraham                    Crt Rptr/ECR:    Patricia Lyons

U.S. Atty: John Boyle/Michael Morrissey             Dft Atty:    Deborah Williams/Milagros
Ciseros (FPD)

Intrptr:             Language:
      Dft not appearing, on mot of US Atty, order bond revoked/forfeited and
      B/W issued.

PROCEEDINGS:/ X /JURY TRIAL      /     /COURT TRIAL     /     /VOIR DIRE / X /JURY SWORN

Trial Day #        3                            Waiver of Jury trial filed

Other Appearances: Defendant Daniel Mahon, present/custody; CJA Attorney Barbara
Hull present.

8:34 Court in session with counsel, defendants present.

Instruction brief summary of case discussed.

Court's order (doc. 1300), counsel for the defendants to give the Government 24
hour notice of evidence of other crimes, wrongs, or acts by any person, other than
the crimes and acts alleged in the Indictment.

Court informs counsel no trial proceedings on January 27, 2012.

Proposed jury instructions discussed. Parties to give more consideration and be
prepared to discuss after lunch break.

Expert testimony. Court will allow experts to hear each others testimony.

Government power point presentation used in openings shall be filed on the Court
docket. Defendants continue to have ongoing objection to the power point
presentation.

9:06 Jury panel of 17 present. Discussion held with juror #80. Counsel have no
objections to his service. Remaining 6 panels members held in jury assembly
dismissed. 9:13 Jury of 17 sworn. Court gives preliminary instructions.
Superseding Indictment read.

9:42 Government opening statement.

10:25-10:40 Morning break.
10:26 Jury not present. Defendant Dennis Mahon's oral motion for mistrial re:
           Case 2:09-cr-00712-DGC Document 1452 Filed 01/12/12 Page 2 of 2
constructive amendment to the indictment during Government opening statement.
Joined by Co-Defendant Daniel Mahon. Motion under advisement.

10:32 Court in recess.

10:45 Court in session. Jury present.

Defendant Dennis Mahon opening statement.

11:12 Defendant Daniel Mahon opening statement.

11:25 Michael Sinclair sworn and examined. Exhibit 1 admitted.

11:32 Lawrence Bettendorf sworn and examined.

11:44 Paul Harvey sworn and examined.

12:01-1:00 Lunch Break.

1:00 Court in session with counsel only, defendants present. Governments proposed
limiting instruction discussed.

1:07 Jury present. Paul Harvey cross examination by defendant Dennis Mahon.

1:11 Sabrina Hagar sworn and examined. Exhibits 72,73,74,75,76,78,79,80, 82,83,161
admitted. Cross examination of this witness reserved for recall.

1:46 Tristan Moreland sworn and examined. Exhibits 112-137 admitted.

2:29-2:45 Afternoon break.

2:47 Jury present. Tristan Moreland direct examination continues. Exhibits 29,
223, 191, 193,195,197,198 admitted.

3:59 Jury excused until 1/13/2012 at 9:00 a.m.

4:01 Court in recess.

4:31 Court in session with counsel, defendants are present. Defendant Dennis
Mahon's   Motion  for   Mistrial   argued.   Matter  taken under advisement.
Counsel/Defendants to return on 1/13/2012 at 8:30 a.m.


5:05 Court in recess.


Case continued to:   1/13/2012 8:30 a.m.    for further trial.
